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                                                                     Thursday, 11 October, 2018 05:11:56 PM
                                                                                Clerk, U.S. District Court, ILCD

                             UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )
                                               )
               v.                              )       Case No. 17-cr-20037-JES-JEH
                                               )
BRENDT A. CHRISTENSEN,                         )
                                               )
                       Defendant.              )

                                      PROTECTIVE ORDER
       Now before the Court is Defendant Brendt A. Christensen’s Motion (Doc. 135) for

Protective Order Directing Livingston County Jail to Maintain Confidentiality of Expert

Evaluations of Defendant, to which the United States has filed a Response (Doc. 137). The

defense indicates that it has, or will, retain mental health professionals to obtain evaluations of

Defendant’s mental health. As part of the evaluations, the defense experts will need to meet with

Mr. Christensen at the Livingston County Jail, where he is currently being housed.

       The Court orders no employee, contractor, or other agent of the Livingston County Jail

reveal any information regarding meetings between Mr. Christensen and any defense mental

health professional to any person other than as necessary in their duties as employees of

Livingston County Jail to schedule and arrange for said meetings.

       The Court is aware that Livingston County Jail is not a party to this case and only houses

Mr. Christensen as a pretrial detainee. The Court is also aware that Livingston County Jail has

expressed a willingness to schedule these meetings as requested by defense counsel. Rule 12.2 of

the Federal Rules of Criminal Procedure and the Court’s scheduling order provide for timely

disclosure of these mental health experts. This Order is entered to further those objectives.



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IT IS THEREFORE ORDERED THAT

  1. No employee, contractor, or other agent of the Livingston County Jail reveal any

     information regarding meetings between Mr. Christensen and any defense mental health

     professional to any person other than as necessary in their duties as employees of

     Livingston County Jail to schedule and arrange for said meetings.

  2. The United States Marshal is directed to serve a copy of this Order on the Livingston

     County Sheriff in his capacity as custodian of the Livingston County Jail.



             Signed on this 11th day of October, 2018.

                                          s/ James E. Shadid
                                          James E. Shadid
                                          Chief United States District Judge




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